        Case 4:22-cv-03773 Document 3 Filed on 11/04/22 in TXSD Page 1 of 3




                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

 JAMES R. FULLER JR                                  §
       Plaintiff,                                    §
                                                     §
                                                     §
                                                     §             CIVIL ACTION:
                                                     §             4:22-cv-03773
   v.                                                §
                                                     §
                                                     §
                                                     §
 CIVIC REAL ESTATE HOLDINGS                          §
 III, LLC                                            §
          Defendant.                                 §
                                                     §



                             JOINT STIPULATION OF DISMISSAL

TO THE HONORABLE JUDGE OF SAID COURT:

        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff JAMES R. FULLER JR

(hereinafter “Plaintiff” or “FULLER”), and Defendant CIVIC REAL ESTATE HOLDINGS III, LLC

(hereinafter “Defendant” or “CIVIC”) and hereby stipulate and agree to the following:

        1.     All matters in controversy between Plaintiff and Defendant in the above-entitled and

numbered cause have been fully and finally settled and, as such, all claims in this case against

Defendant, which were or could have been asserted by Plaintiff, are dismissed with prejudice.

        2.     Plaintiff as well as Defendant shall bear their own attorney’s fees, expert fees,

litigation expenses and costs incurred in litigating and settling these claims.

        3.     This stipulation is made pursuant to the agreement and understanding between

counsel for the parties.
      Case 4:22-cv-03773 Document 3 Filed on 11/04/22 in TXSD Page 2 of 3




       WHEREFORE, PREMISES CONSIDERED, Plaintiff as well as Defendant jointly request

that the Court enter the attached Order dismissing the above-entitled and numbered cause with

prejudice, with costs of court being assessed against the party incurring same.

Dated: November 4, 2022

                                                     Respectfully Submitted,

                                                     JACK O’BOYLE & ASSOCIATES


                                                       /s/ Travis H. Gray
                                                     Travis H. Gray
                                                     SBN: 24044965
                                                     SD TX BAR NO.: 1115733
                                                     travis@jackoboyle.com
                                                     Chris S. Ferguson
                                                     SBN: 24068714
                                                     chris@jackoboyle.com
                                                     P.O. BOX 815369
                                                     DALLAS, TX 75381
                                                     P: 972.247.0653 | F: 972.247.0642
                                                     ATTORNEYS FOR DEFENDANT CIVIC
                                                     REAL ESTATE HOLDINGS
                                                     III, LLC

                                                     Respectfully Submitted,


                                                       /s/ Robert C. Newark, III
                                                     Robert C. Newark, III
                                                     SBN: 24040097
                                                     NEWARK FIRM
                                                     1341 W. Mockingbird Lane, Ste 600W
                                                     Dallas, TX 75247
                                                     P: 866.230.7236
                                                     F: 888.316.3398
                                                     E: robert@newarkfirm.com
                                                     COUNSEL FOR PLAINTIFF
                                                     JAMES R. FULLER JR.
      Case 4:22-cv-03773 Document 3 Filed on 11/04/22 in TXSD Page 3 of 3




                                CERTIFICATE OF SERVICE
       This is to certify that a true, correct and complete copy of the foregoing document has been
served in accordance with the Federal Rules of Civil Procedure on November 4, 2022 to:
       Robert C. Newark, III
       SBN: 24040097
       NEWARK FIRM
       1341 W. Mockingbird Lane, Ste 600W
       Dallas, TX 75247
       P: 866.230.7236
       F: 888.316.3398
       E: robert@newarkfirm.com
       COUNSEL FOR PLAINTIFF
       JAMES R. FULLER JR.

                                                     /s/ Travis H. Gray
                                                     Travis H. Gray
